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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                                            No. 4:13CR00179-08-SWW

BURNETT SMITH

                                              ORDER

       Before the Court is Defendant’s Motion For Reconsideration of Order of Detention. (Doc.

No. 121.) A detention hearing may only be reopened “if the judicial officer finds that information

exists that was not known to the movant at the time of the hearing,” and that information “has a

material bearing on the issue whether there are conditions of release that will reasonably assure the

appearance of the person as required and the safety of any other person and the community.” 18

U.S.C. § 3142(f). The matter should not be reopened if the evidence was available at the time of the

initial hearing. See United States v. Dillon, 938 F.2d 1412, 1415 (1st Cir. 1991) (per curiam); United

States v. Hare, 873 F.2d 796, 799 (5th Cir. 1989); United States v. Flores, 856 F. Supp. 1400,

1405–07 (E.D. Cal. 1994).

       The Court finds that the proposed new information – Anthony Maltbia is now willing to

serve as a third-party custodian – was, in fact, known and available to Mr. Smith at the time of his

hearing. The Court also finds that his medical issues and the proposal of this third-party custodian

do not bear materially on the issue of whether Mr. Smith poses a danger to the community. The

Court found clear and convincing evidence that Mr. Smith posed a significant danger to the

community if he was released. Such a finding under the Bail Reform Act precludes any form of

conditional release, including release under the supervision of a third-party custodian. See 18 U.S.C.

§ 3142(e).
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Therefore, the Motion is DENIED.

      IT IS SO ORDERED this 25th day of November, 2013.



                                      ___________________________________
                                      JOE J. VOLPE
                                      UNITED STATES MAGISTRATE JUDGE
